Case: 1:19-cv-00398-MWM-SKB Doc #: 36 Filed: 02/12/20 Page: 1 of 2 PAGEID #: 437




                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

ANDREA GOLDBLUM,                                                          Case No. 1:19-cv-398

        Plaintiff,                                                        McFarland, J.
                                                                          Bowman, M.J.
                v.

UNIVERSITY OF CINCINNATI,

        Defendant

                                                ORDER

        Following a telephonic hearing held on January 30, 2020 concerning a discovery

dispute during which some issues were resolved, the Court directed expedited briefing

concerning a remaining dispute over whether Plaintiff should be entitled to take excess

depositions in order to depose the University’s President, Dr. Neville Pinto. The parties

have now fully briefed all relevant issues.1

        Having reviewed the parties’ extensive briefs and all relevant authority, the

undersigned finds the Defendant’s arguments to be the more persuasive. Plaintiff has

failed to demonstrate a need to exceed the deposition limit on the record presented, and

in particular, has failed to demonstrate a need to take Dr. Pinto’s deposition.                         By

contrast, Defendant has adequately demonstrated good cause for the issuance of a

protective order to prevent the deposition of Dr. Pinto, both because Plaintiff has

already noticed or taken the allotted 10 depositions under Rule 30, and based upon

numerous other factors including but not limited to Dr. Pinto’s limited knowledge of the

1
 Although the Court permitted the parties to file formal briefs, Plaintiff’s response in opposition exceeded
the undersigned’s twenty-page limitation by more than 50% without leave of Court. The undersigned’s
Standing Order clearly states: “Briefs and/or memoranda in support of or in opposition to any motion shall
not exceed twenty pages unless a party first obtains leave of court.” See also S.D. Ohio Civ. R.7.2 (a)(3)
(“The Court prefers that memoranda in support of or in opposition to any motion or application to the
Court not exceed twenty pages.”)
Case: 1:19-cv-00398-MWM-SKB Doc #: 36 Filed: 02/12/20 Page: 2 of 2 PAGEID #: 438




issues in dispute and position at the University.

       Accordingly, IT IS ORDERED THAT Defendant’s motion for a protective order

(Doc. 33) is GRANTED.

                                                    s/ Stephanie K. Bowman
                                                    Stephanie K. Bowman
                                                    United States Magistrate Judge




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